Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 1 of 25

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE
LITIGATION MDL No. 1456

CIVIL ACTION: 01-CV-12257-PBS

Judge Patti B. Saris

THIS DOCUMENT RELATES TO
ALL CLASS ACTIONS

AVENTIS PHARMACEUTICALS INC.’S ANSWER TO PLAINTIFFS’
AMENDED MASTER CONSOLIDATED CLASS ACTION COMPLAINT

Defendant Aventis Pharmaceuticals Inc.! (“Aventis”), for its Answer to Plaintiffs’

Amended Master Consolidated Class Action Complaint (the “AMCC’”), states:
Preface

The AMCC improperly and repetitively refers to Aventis and certain other defendants
and third parties on a collective basis, failing to plead with requisite particularity allegations
against Aventis or other defendants or third parties. Intentionally ambiguous pleading is
improper and insufficient to apprise Aventis in any meaningful sense of the allegations asserted
against it. Aventis has nevertheless attempted to respond to Plaintiffs’ allegations to the extent
possible under the circumstances. To the extent allegations refer to the knowledge, conduct or
actions of other defendants or entities, Aventis is generally without knowledge or information
sufficient to form a belief as to the truth of those allegations and, on that basis, Aventis denies

those allegations. Aventis states that it is answering Plaintiffs’ allegations on behalf of itself

Plaintiffs’ description of “Aventis Group (Aventis, Pharma, Hoechst & Behring)” in the AMCC is
inaccurate and misleading. This Answer is that of Aventis Pharmaceuticals Inc. and Hoechst Marion
Roussel, Inc. (collectively ““Aventis”).

1405952v2 -
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 2 of 25

only, even when Plaintiffs’ allegations refer to alleged conduct by Aventis and other persons or
entities.

The AMCC improperly mixes factual allegations with inflammatory rhetoric so as to
make it virtually impossible to respond meaningfully. Many of the allegations of the AMCC are
vague or conclusory. The AMCC also includes terms which are undefined and which are
susceptible of different meanings.

The AMCC also contains purported quotations from a number of sources, many of which
are unidentified. If any of the quotations originate in documents protected by the attorney-client
privilege, the work-product doctrine or the joint-defense privilege, Aventis reserves the right to
assert such privileges, hereby moves to strike such references and demands return of any such
documents that Plaintiffs may have in their possession, custody or control. In answering
allegations consisting of quotations, an admission that the material quoted was contained in a
document or was uttered by the person or entity quoted shall not constitute an admission that the
substantive content of the quote is or is not true or that the material is relevant or admissible in
this action.

Aventis denies each and every allegation contained in the AMCC, except as specifically
herein admitted, and any factual averment admitted herein is admitted only as to the specific
facts and not as to any conclusions, characterizations, implications, innuendos or speculations
which are contained in any averment or in the AMCC as a whole. Moreover, Aventis
specifically denies any allegations contained in headings, footnotes, the Table of Contents or
unnumbered paragraphs in the AMCC.

These comments and objections are incorporated, to the extent appropriate, into each

numbered paragraph of this Answer.

1405952v2 -
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 3 of 25

I. INTRODUCTION

1. Aventis admits that Plaintiffs seek to bring this action as alleged in Paragraph 1 of
the AMCC. Aventis denies that Plaintiffs are entitled to maintain this action in the manner
alleged.

2. Aventis denies the existence of, or its participation in, any “conspiracy” as alleged
in Paragraph 2 of the AMCC. To the extent the allegations in Paragraph 2 of the AMCC allege a
conspiracy between Aventis and various publishing entities, no response is required because
these allegations, which formed the basis of Count I of the AMCC, were dismissed with
prejudice by the Court’s Order dated February 24, 2004. To the extent the allegations in
Paragraph 2 of the AMCC refer to the knowledge, conduct or actions of persons or entities other
than Aventis, Aventis is without knowledge or information sufficient to form a belief as to the
truth of those allegations and, therefore, denies those allegations.

3. To the extent the allegations in Paragraph 3 of the AMCC are directed to persons,
entities or defendants other than Aventis, Aventis is without knowledge or information sufficient
to form a belief as to the truth of the allegations and, therefore, denies those allegations. Aventis
admits that it manufactures certain medicines that are covered under Medicare Part B, and that
Congress has mandated that Medicare Part B reimbursements be based, in part, upon AWP.
Aventis admits that it reports certain pricing information for its medicines to independently
produced pricing publications. Aventis admits that AWPs for its medicines published in these
publications are typically higher than the prices ultimately paid by providers purchasing such
medicines from wholesalers and distributors. Aventis denies the remaining allegations in

Paragraph 3 of the AMCC that pertain to it.

1405952v2 : -
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 4 of 25

4. To the extent the allegations in Paragraph 4 of the AMCC refer to the knowledge,
conduct or actions of persons, entities or defendants other than Aventis, Aventis is without
knowledge or information sufficient to form a belief as to the truth of those allegations and,
therefore, denies those allegations. Aventis admits that Congress has mandated that Medicare
Part B reimbursements be based, in part, upon AWP, and further admits that Medicare Part B
medicines are generally, but not always, administered in a healthcare provider’s office. Aventis
denies the remaining allegations in Paragraph 4 of the AMCC that pertain to it.

5. Aventis denies the existence of, and its participation in, any “AWP scheme” as
alleged in Paragraph 5 of the AMCC. To the extent the allegations in Paragraph 5 of the AMCC
refer to the knowledge, conduct or actions of persons, entities or defendants other than Aventis,
Aventis is without knowledge or information sufficient to form a belief as to the truth of those
allegations and, therefore, denies those allegations. Aventis denies the remaining allegations in
Paragraph 5 of the AMCC that pertain to it.

6. To the extent the allegations in Paragraph 6 of the AMCC refer to the knowledge,
conduct or actions of persons, entities or defendants other than Aventis, Aventis is without
knowledge or information sufficient to form a belief as to the truth of those allegations and,
therefore, denies those allegations. Aventis admits that Plaintiffs purport to bring this action as
alleged in Paragraph 6 of the AMCC, but Aventis denies that Plaintiffs are entitled to maintain
this action in the manner alleged. Aventis denies the remaining allegations in Paragraph 6 of the
AMCC that pertain to it.

7. Aventis denies the existence of, and its participation in, any “high profit scheme”
as alleged in Paragraph 7 of the AMCC. To the extent the allegations in Paragraph 7 of the

AMCC refer to the knowledge, conduct or actions of persons, entities or defendants other than

1405952v2
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 5 of 25

Aventis, Aventis is without knowledge or information sufficient to form a belief as to the truth of
those allegations and, therefore, denies those allegations. Aventis denies the remaining
allegations in Paragraph 7 of the AMCC that pertain to it.

8. Aventis denies the existence of, and its participation in, any “scheme” or
“unlawful agreement” as alleged in Paragraph 8 of the AMCC. To the extent the allegations in
Paragraph 8 of the AMCC refer to the knowledge, conduct or actions of persons, entities or
defendants other than Aventis, Aventis is without knowledge or information sufficient to form a
belief as to the truth of those allegations and, therefore, denies those allegations. Aventis denies
the allegations in Paragraph 8 of the AMCC that pertain to it, except Aventis admits that it
participates in the Together Rx Card Program which commenced in 2002 and allows poor,
elderly Americans to enjoy substantial discounts on covered medicines.

9-10. Aventis denies the existence of, or its participation in, any “conspiracy” as alleged
in Paragraphs 9 through 10 of the AMCC. To the extent the allegations in Paragraphs 9 through
10 of the AMCC refer to the knowledge, conduct or actions of persons, entities or defendants
other than Aventis, Aventis is without knowledge or information sufficient to form a belief as to
the truth of those allegations and, therefore, denies those allegations. Aventis denies the
remaining allegations in Paragraphs 9 through 10 of the AMCC that pertain to it.

11. Answering Paragraph 11 of the AMCC, Aventis admits that Plaintiffs have filed
attachments to the AMCC. To the extent the allegations in Paragraph 11 of the AMCC are
deemed to include allegations against Aventis, they are denied.

12. The Court dismissed Count I in its Order dated February 24, 2004. Accordingly,
Aventis does not respond to Paragraph 12 of the AMCC. To the extent a response is required,

Aventis denies the allegations in Paragraph 12 and Count I of the AMCC.

1405952v2 ~-
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 6 of 25

13-21. Aventis denies the existence of, or its participation in, any “enterprise,” “scheme”
or “conspiracy” as alleged in Paragraphs 13 through 21 of the AMCC. Aventis admits that
Plaintiffs purport to bring this action as a class action, and that Plaintiffs seek relief under Counts
II through X as alleged in Paragraphs 13 through 21 of the AMCC. Aventis denies that this
action can be maintained in the manner alleged, and further denies that Plaintiffs are entitled to
relief under Counts IJ through X of the AMCC.

Il. JURISDICTION AND VENUE

22. Aventis admits that this Court has federal question subject matter jurisdiction.
Aventis avers that it is not a defendant in the Texas action referenced in Paragraph 22 of the
AMCC, but Aventis admits that, upon information and belief, diversity jurisdiction exists.

23. Aventis admits the allegations in Paragraph 23 of the AMCC.

24. Aventis admits the first two sentences in Paragraph 24 of the AMCC. Aventis
denies the remaining allegations in Paragraph 24 of the AMCC, and specifically denies the
existence of, and its participation in, any alleged “fraudulent marketing scheme.”

25. Aventis admits the allegations in Paragraph 25 of the AMCC.

iI. PARTIES

26-31. Aventis is without knowledge or information sufficient to form a belief as to the
truth of the allegations in Paragraphs 26 through 31 of the AMCC and, therefore, denies those
allegations.

32-36. Aventis admits that Plaintiffs VPIRG, WCA, StateWide, CANY and CCJ purport
to bring this action as alleged in Paragraphs 32 through 36 of the AMCC, but Aventis denies that

these Plaintiffs have standing to bring the alleged action. Aventis is without knowledge or

1405952v2 : -
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 7 of 25

information sufficient to form a belief as to the truth of the remaining allegations in Paragraphs
32 through 36 of the AMCC and, therefore, denies those allegations.

36(a)-(c). Aventis is without knowledge or information sufficient to form a belief as
to the truth of the allegations in Paragraphs 36(a) through 36(c) of the AMCC and, therefore,
denies those allegations.

37-38. To the extent the allegations in Paragraphs 37 through 38 of the AMCC refer to
the knowledge, conduct or actions of persons, entities or defendants other than Aventis, Aventis
is without knowledge or information sufficient to form a belief as to the truth of those allegations
and, therefore, denies those allegations. Aventis denies the remaining allegations in Paragraphs
37 through 38 of the AMCC that pertain to it. Aventis denies the existence of, or its participation
in, any “conspiracy” as alleged in Paragraph 38 of the AMCC.

39-50. The allegations in Paragraphs 39 through 50 of the AMCC are directed to another
defendant and require no response from Aventis. To the extent the allegations in Paragraphs 39
through 50 of the AMCC are deemed to include allegations against Aventis, they are denied.

51. Aventis admits it is a Delaware corporation with its principal place of business
located at 300-400 Somerset Corporate Boulevard, Bridgewater, New Jersey. Aventis admits
that it is an indirect wholly-owned subsidiary of Aventis, S.A., a company domiciled in France.
Aventis admits that it is the successor in interest to substantially all of the assets and liabilities of
Hoechst Marion Roussel, Inc. (“Hoechst”), which was a Delaware corporation with its principal
place of business located at 10236 Marion Park Drive, Kansas City, Missouri. Aventis denies
the remaining allegations in Paragraph 51 of the AMCC.

52. Aventis admits that its principal business activities are the discovery,

development, manufacture and sale of prescription medicines in the area of cardiology,

1405952v2 -
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 8 of 25

oncology, infectious diseases, arthritis, allergies and respiratory disorders, diabetes and central
nervous system disorders. Aventis denies the remaining allegations in Paragraph 52 of the
AMCC.

53. Aventis denies that Centeon L.L.C. was a 50/50 joint venture between Hoechst
and Rhone-Poulenc Rorer, S.A. The remaining allegations in Paragraph 53 of the AMCC are
directed to another defendant and require no response from Aventis. To the extent the remaining
allegations in Paragraph 53 of the AMCC are deemed to include allegations against Aventis, they
are denied.

54. Aventis denies that Behring is the plasma protein business of Aventis. The
remaining allegations in Paragraph 54 of the AMCC are directed to another defendant and
require no response from Aventis. To the extent the remaining allegations in Paragraph 54 of the
AMCC are deemed to include allegations against Aventis, they are denied.

55. Aventis admits that it manufactures Anzemet and Taxotere, which are covered by
Medicare Part B. Aventis admits that Hoechst manufactured Anzemet, which is covered by
Medicare Part B. The remaining allegations in Paragraph 55 of the AMCC are directed to
another defendant and require no response from Aventis. To the extent the remaining allegations
in Paragraph 55 of the AMCC are deemed to include allegations against Aventis, they are
denied.

56. The allegations in Paragraph 56 are directed to “Aventis,” an entity that was not
defined by Plaintiffs in the AMCC. To the extent the allegations in Paragraph 56 of the AMCC
are directed to Aventis as defined in Footnote 1 hereto, Aventis admits that Plaintiffs purport to

bring this action against Aventis as described in Paragraphs 542-618 and 692-725 of the AMCC.

1405952v2
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 9 of 25

Aventis denies that Plaintiffs are entitled to maintain this action in the manner alleged or that
Plaintiffs have pled a proper class.

57-131. The allegations in Paragraphs 57 through 131 of the AMCC are directed to
another defendant and require no response from Aventis. To the extent the allegations in
Paragraphs 57 through 131 of the AMCC are deemed to include allegations against Aventis, they
are denied, except Aventis admits that it is a participant of Together Rx, LLC, a Delaware
limited liability company, as alleged in Paragraph 131 of the AMCC.

IV. GENERAL ALLEGATIONS APPLICABLE TO ALL DEFENDANTS

132. To the extent the allegations in Paragraph 132 of the AMCC are directed to other
defendants, Aventis is without knowledge or information sufficient to form a belief as to the
truth of those allegations and, therefore, denies those allegations. Aventis denies the allegations
in Paragraph 132 of the AMCC that pertain to it.

133. Upon information and belief, Aventis admits the allegations in Paragraph 133 of
the AMCC.

134-141. To the extent the allegations in Paragraphs 134 through 141 of the AMCC refer
to the knowledge, conduct, opinions or actions of persons, entities or defendants other than
Aventis, Aventis is without knowledge or information sufficient to form a belief as to the truth of
those allegations and, therefore, denies those allegations. Further answering Paragraph 134 of
the AMCC, Aventis admits that Congress has mandated that Medicare Part B reimbursements be
based, in part, upon AWP. Further answering Paragraphs 135 and 136 of the AMCC, Aventis
admits that independently produced pricing publications periodically report AWPs for
prescription medicines sold in the United States. Aventis states that the 1999 edition of the Red

Book and the June 1996 Dow Jones News article cited in Paragraph 136 of the AMCC are the

1405952v2 -
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 10 of 25

best evidence of their contents. Aventis denies the remaining allegations in Paragraphs 134
through 141 of the AMCC that pertain to it, and specifically denies the existence of, and its
participation in, any “AWP Scheme” as alleged in Paragraph 140 of the AMCC.

142-144. Aventis admits the allegations in Paragraphs 142 through 144 of the AMCC.

145. Answering Paragraph 145 of the AMCC, Aventis admits that the reimbursement
methodology for drugs covered by Medicare Part B is set forth at 42 C.F.R. § 405.517, which is
the best evidence of its contents.

146. Aventis denies the allegations in the first sentence of Paragraph 146 of the AMCC
insofar as the source of the quoted material is unidentified. Aventis denies the second sentence
of Paragraph 146 of the AMCC insofar as 42 CFR § 405.517 contains no reference to a “ceiling”
on reimbursement amounts.

147. Aventis admits the allegations in Paragraphs 147 of the AMCC.

148. Answering Paragraph 148 of the AMCC, Aventis admits that the Medicare
Program has publicly announced that it would use the AWP published in independently
produced pricing publications as the basis for reimbursement. Aventis states that the Program
Memo AB-99-63 cited in Paragraph 148 of the AMCC is the best evidence of its contents.

149. Aventis states that the Program Memo AB-99-63 cited in Paragraph 149 of the
AMCC is the best evidence of its contents.

150-151. Aventis admits the allegations in Paragraphs 150 through 151 of the AMCC.

152. To the extent the allegations in Paragraph 152 of the AMCC refer to the
knowledge, conduct or actions of or benefits received by persons, entities or defendants other
than Aventis, Aventis is without knowledge or information sufficient to form a belief as to the

truth of those allegations and, therefore, denies those allegations. Aventis admits that there are

10
1405952v2 ~
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 11 of 25

no government regulations describing how AWPs are calculated, nor any other statutory or
regulatory definitions or descriptions of AWPs. Aventis admits that it reports certain pricing
information for its medicines to independently produced pricing publications. Aventis denies the
remaining allegations in Paragraph 152 of the AMCC that pertain to it.

153-154. Aventis states that the April 2003 OIG report cited in Paragraphs 153 through
154 of the AMCC is the best evidence of its contents. Aventis denies that Plaintiffs have
accurately characterized any alleged OIG finding, opinion, statement or conclusion, or that such
are applicable to Aventis.

155. To the extent the allegations in Paragraph 155 of the AMCC refer to the
knowledge, conduct or actions of persons, entities or defendants other than Aventis, Aventis is
without knowledge or information sufficient to form a belief as to the truth of those allegations
and, therefore, denies those allegations. Aventis denies the remaining allegations in Paragraph
155 of the AMCC that pertain to it.

156-157. Aventis denies the existence of, and its participation in, any “scheme” cited in
Paragraph 156 of the AMCC. Aventis states that the September 28, 2000, letter from
Congressman Stark to the President of Pharmaceutical Research and Manufacturers of America
cited in Paragraphs 156 through 157 of the AMCC is the best evidence of its contents. Aventis
denies that Plaintiffs have accurately characterized the findings, opinions, statements or
conclusions of Congressman Stark, or that such are applicable to Aventis.

158-159. To the extent the allegations in Paragraphs 158 through 159 of the AMCC refer
to the knowledge, conduct or actions of persons, entities or defendants other than Aventis,
Aventis is without knowledge or information sufficient to form a belief as to the truth of those

allegations and, therefore, denies those allegations. Aventis denies the remaining allegations in

11
1405952v2 -
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 12 of 25

Paragraphs 158 through 159 of the AMCC that pertain to it. Aventis further denies the existence
of, and its participation in, any “scheme” as alleged in Paragraph 159 of the AMCC.

160. To the extent the allegations in Paragraph 160 of the AMCC refer to the
knowledge, conduct or actions of persons, entities or defendants other than Aventis, Aventis is
without knowledge or information sufficient to form a belief as to the truth of those allegations
and, therefore, denies those allegations. Aventis admits that it reported suggested AWPs for its
medicines to independently produced pricing publications before August 2001, but Aventis
denies that it has done so since. Aventis denies the remaining allegations in Paragraph 160 of the
AMCC that pertain to it.

161-184. To the extent the allegations in Paragraphs 161 through 184 of the AMCC refer
to the knowledge, conduct or actions of persons, entities or defendants other than Aventis,
Aventis is without knowledge or information sufficient to form a belief as to the truth of those
allegations and, therefore, denies those allegations. Aventis denies the remaining allegations in
Paragraphs 164 through 184 of the AMCC that pertain to it. Aventis denies the existence of, and
its participation in, any “scheme” as alleged in Paragraphs 161 and 163 of the AMCC.

185. Aventis admits that Plaintiffs purport to quote from an unidentified “industry
consultant” as alleged in Paragraph 185 of the AMCC, but Aventis is without knowledge or
information sufficient to form a belief as to the truth of the allegations in Paragraph 185 of the
AMCC and, therefore, denies those allegations.

186-191. To the extent the allegations in Paragraphs 186 through 191 of the AMCC and
its subparts refer to the knowledge, conduct or actions of persons, entities or defendants other
than Aventis, Aventis is without knowledge or information sufficient to form a belief as to the

truth of those allegations and, therefore, denies those allegations. Aventis states that the Red

12

1405952v2 -
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 13 of 25

Book and the unidentified DOJ report cited in Paragraph 187 of the AMCC and the pleadings
cited in Paragraphs 189 through 190 of the AMCC and subparts are the best evidence of their
contents. To the extent the allegations in Paragraphs 186 through 191 of the AMCC are deemed
to include allegations against Aventis, they are denied.

192. To the extent the allegations in Paragraph 192 of the AMCC refer to the
knowledge, conduct or actions of persons, entities or defendants other than Aventis, Aventis is
without knowledge or information sufficient to form a belief as to the truth of those allegations
and, therefore, denies those allegations. Aventis states the 2003 CMS document cited in
Paragraph 192 of the AMCC is the best evidence of its contents. Aventis denies that Plaintiffs
have accurately characterized any alleged CMS finding, opinion, statement or conclusion.
Aventis admits that it sells its medicines in a competitive market and, as such, takes steps to keep
certain information relating to its medicines confidential. Aventis denies the remaining
allegations in Paragraph 192 of the AMCC that pertain to it.

193-196. To the extent the allegations in Paragraphs 193 through 196 of the AMCC refer
to the knowledge, conduct or actions of persons, entities or defendants other than Aventis,
Aventis is without knowledge or information sufficient to form a belief as to the truth of those
allegations and, therefore, denies those allegations. Aventis denies the allegations in Paragraphs
193 through 196 of the AMCC that pertain to it.

197. In response to the allegations in Paragraph 197 of the AMCC, Aventis denies that
Plaintiffs lacked inquiry or other notice of the issues associated with reliance on AWPs as a
pricing benchmark. Aventis specifically avers, to the contrary, that such issues were well known

for more than a decade before Plaintiffs elected to bring this suit.

13
1405952v2 -
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 14 of 25

198-199. The allegations in Paragraphs 198 through 199 of the AMCC state legal
conclusions to which no response is required. To the extent a response is required, Aventis is
without knowledge or information sufficient to form a belief as to the truth of those allegations in
Paragraphs 198 through 199 of the AMCC that refer to the knowledge, conduct or actions of
persons, entities or defendants other than Aventis and, therefore, Aventis denies those
allegations. Aventis denies the remaining allegations in Paragraphs 198 through 199 of the
AMCC that pertain to it.

V. EXAMPLES OF SPECIFIC UNLAWFUL CONDUCT

200. To the extent the allegations in Paragraph 200 of the AMCC refer to the
knowledge, conduct or actions of persons, entities or defendants other than Aventis, Aventis is
without knowledge or information sufficient to form a belief as to the truth of those allegations
and, therefore, denies those allegations. Aventis denies the remaining allegations in Paragraph
200 of the AMCC that pertain to it.

201-249. The allegations in Paragraphs 201 through 249 of the AMCC are directed to
another defendant and require no response from Aventis. To the extent allegations in Paragraphs
201 through 249 of the AMCC are deemed to include allegations against Aventis, they are
denied.

250. Aventis denies the existence of, and its participation in, any “scheme” as alleged
in Paragraph 250 of the AMCC. To the extent the allegations in Paragraph 250 of the AMCC are
directed to another defendant, Aventis is without sufficient knowledge and information to form a
belief as to the truth of those allegations and, therefore, denies those allegations. Aventis denies
the existence of, and its participation in, any “Aventis Group” as alleged in Paragraph 250 of the
AMCC and reiterates, as noted in Footnote 1 hereto, that this Answer is only filed on behalf of
Aventis Pharmaceuticals Inc. and Hoechst Marion Roussel, Inc. (collectively referred to

14
1405952v2 ~
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 15 of 25

throughout this Answer as “Aventis”). Aventis admits that Plaintiffs purport to bring this action
as alleged in Paragraph 250 of the AMCC, but Aventis denies that Plaintiffs are entitled to a
judgment or any other relief. Aventis denies the remaining allegations in Paragraph 250 of the
AMCC that pertain to it.

251. Aventis denies the existence of, and its participation in, any “scheme” as alleged
in Paragraph 251 of the AMCC. Aventis admits that the governmental agencies listed in
Paragraph 251 of the AMCC have conducted investigations concerning pricing in the
pharmaceutical industry and that Aventis, among others, has participated in such investigations.

252-253. Aventis states that the November 1992 newsletter cited in Paragraph 252 of the
AMCC and the Red Book excerpt cited in Paragraph 253 of the AMCC are the best evidence of
their contents. Aventis denies that it produced or prepared the documents cited in Paragraphs
252 and 253 of the AMCC. Therefore, it appears the allegations in Paragraphs 252 and 253 of
the AMCC are directed to another defendant and require no response from Aventis. To the
extent allegations in Paragraphs 252 and 253 of the AMCC are deemed to include allegations
against Aventis, they are denied.

254. Aventis admits that it reported certain pricing information for its medicines to
independently produced pricing publications during the purported Class Period. Aventis admits
that it reported a suggested AWP for its medicines during a portion of that time. Aventis further
admits that it produced the documents cited in Paragraph 254(a) of the AMCC (AV-AAA-
001054, AV-AAA-001047, AVOAAA-00105 and AV-AAA-001066), but Aventis states that
these documents are the best evidence of their contents and denies that the conclusions Plaintiffs
draw from these documents are accurate. Aventis denies that it produced or prepared the

document cited in Paragraph 254(b) of the AMCC (ABAWP 005314) and further denies that this

15
1405952v2 -
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 16 of 25

document reflects any conduct by or knowledge of Aventis. Therefore, it appears the allegations
in Paragraph 254(b) are directed to another defendant and require no response from Aventis. To
the extent allegations in Paragraph 254(b) of the AMCC are deemed to include allegations
against Aventis, they are denied.

255. Aventis denies the allegations in Paragraph 255 of the AMCC.

256. Aventis states that the Centeon document (ABAWP 000855) cited in Paragraph
256 of the AMCC is the best evidence of its contents. Aventis denies that it produced or
prepared this document and further denies that this document reflects any conduct by or
knowledge of Aventis. Therefore, it appears the allegations in Paragraph 256 are directed to
another defendant and require no response from Aventis. To the extent allegations in Paragraph
256 of the AMCC are deemed to include allegations against Aventis, they are denied.

257. Aventis states that the Aventis document (AV-AAA-02242-56) cited in Paragraph
257 of the AMCC is the best evidence of its contents. Aventis denies that the conclusion drawn
by Plaintiffs from the alleged quotation from this document is accurate. Aventis denies the
remaining allegations in Paragraph 257 of the AMCC that pertain to it.

258. Aventis states that the various documents cited in Paragraph 258 of the AMCC
(ABAWP 000089, ABAWP 000811 and ABAWP 000220-25) are the best evidence of their
contents. Aventis denies that it produced or prepared these documents and further denies that
these documents reflect any conduct by or knowledge of Aventis. Therefore, it appears the
allegations in Paragraph 258 of the AMCC are directed to another defendant and require no
response from Aventis. To the extent allegations in Paragraph 258 of the AMCC are deemed to

include allegations against Aventis, Aventis denies those allegations.

16
1405952v2 -
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 17 of 25

259. To the extent the allegations in Paragraph 259 of the AMCC refer to the
knowledge, conduct or actions of persons, entities or defendants other than Aventis, Aventis is
without knowledge or information sufficient to form a belief as to the truth of those allegations
and, therefore, denies those allegations. Aventis denies that Plaintiffs have drawn an accurate
conclusion about Aventis’ business relationships with PBMs based on the cite in Paragraph 259
of the AMCC to three pages of a seventeen-page contract with one PBM. Aventis states that the
whole document cited in Paragraph 259 of the AMCC (AV-AAA-000196-212) is the best
evidence of its contents. Aventis denies the remaining allegations in Paragraph 259 of the
AMCC that pertain to it.

260-261. To the extent the allegations in Paragraphs 260 and 261 of the AMCC refer to
the knowledge, conduct or actions of persons, entities or defendants other than Aventis, Aventis
is without knowledge or information sufficient to form a belief as to the truth of those allegations
and, therefore, denies those allegations. Aventis states that the report published by the DHHS
(AB-00-86) cited in Paragraph 260 of AMCC and the report published by the OIG (see
“Medicare Reimbursement of Prescription Drugs,” OEI-03-00-00310, Jan. 2001) cited in
Paragraph 261 of the AMCC are the best evidence of their contents, but Aventis denies that
Plaintiffs have accurately characterized any alleged finding, opinion, statement or conclusion
contained in these documents. Aventis admits that it sells its medicines at prices below AWP.
Aventis denies the remaining allegations in Paragraphs 260 and 261 of the AMCC that pertain to
it.

262. In response to the allegations in Paragraph 262 of the AMCC, Aventis admits that
it educated its sales staff about issues such as price and Medicare reimbursement limitations

concerning Anzemet with documents such as those cited in Paragraph 262 of the AMCC (AV-

17
1405952v2 -
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 18 of 25

AAA-001190-93 and AV-AAA-002291-92) so that they were knowledgeable about such issues
and could respond accurately to customers’ questions. Aventis states that these documents are
the best evidence of their contents. Aventis denies the remaining allegations in Paragraph 262 of
the AMCC that pertain to it.

263. Aventis denies that the document excerpt cited in Paragraph 263 of the AMCC
(AV-AAA-001523) is accurately characterized as an Aventis “internal document.” Answering
further, Aventis states that this document was not prepared by or with the assistance of Aventis.
Answering further, Aventis states that this document and the additional documents cited in
Paragraph 263 of the AMCC (AV-AAA-001619-23) are the best evidence of their contents.
Aventis denies that Plaintiffs have accurately characterized any alleged document finding,
opinion, statement or conclusion. To the extent the allegations in Paragraph 263 of the AMCC
refer to the knowledge, conduct or actions of persons or entities other than Aventis, Aventis is
without knowledge or information sufficient to form a belief as to the truth of those allegations
and, therefore, denies those allegations. To the extent allegations in Paragraph 263 of the AMCC
are deemed to include allegations against Aventis, they are denied.

264. Aventis denies the existence of, and its participation in, any “scheme” as alleged
in Paragraph 264 of the AMCC. Aventis states that the September 28, 2000 letter to Alan F.
Holmer, President of the Pharmaceutical Research and Manufacturers of America, from
Congressman Stark cited in Paragraph 264 of the AMCC is the best evidence of its contents.
Aventis denies the remaining allegations in Paragraph 264 that pertain to it.

265-266. Aventis denies that it produced or prepared the documents cited in Paragraphs
265 (ABAWP 004767) and 266 (ABAWP 005315) of the AMCC and further denies that these

documents reflects any conduct by or knowledge of Aventis. Aventis states that this document is

18
1405952v2 -
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 19 of 25

the best evidence of its contents. Aventis denies that Plaintiffs have accurately characterized any
alleged document finding, opinion, statement or conclusion. Therefore, it appears the allegations
in Paragraphs 265 and 266 are directed to another defendant and require no response from
Aventis. To the extent allegations in Paragraphs 265 and 266 of the AMCC are deemed to
include allegations against Aventis, they are denied.

267. The allegations in Paragraph 267 of the AMCC are directed to another defendant
and require no response from Aventis. To the extent allegations in Paragraph 267 of the AMCC
are deemed to include allegations against Aventis, they are denied.

268. To the extent the allegations in Paragraph 268 of the AMCC refer to the
knowledge, conduct or actions of persons or entities other than Aventis, Aventis is without
knowledge or information sufficient to form a belief as to the truth of those allegations and,
therefore, denies those allegations. Aventis admits that it produced documents cited in
Paragraph 268 of the AMCC that show the AWP and acquisition price for Anzemet to customers
in a specific class of trade. Aventis admits that it sells its medicines at prices below AWP.
Aventis denies the remaining allegations in Paragraph 268 of the AMCC that pertain to it.

269. Aventis denies that the document excerpt cited in Paragraph 269 of the AMCC
(AV-AAA-000705) is a price list issued by Arcola Laboratories or that it concerns Calcimar.
Aventis states further that the entire document is the best evidence of its contents. Aventis
denies that Plaintiffs have accurately characterized any alleged finding, opinion, statement or
conclusion contained in that document. Aventis denies the remaining allegations in Paragraph

269 that pertain to it.

19
1405952v2 -
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 20 of 25

270. Aventis denies the allegations in Paragraph 270 of the AMCC. Specifically,
Aventis denies the existence of, and its participation in, any “scheme” as alleged in Paragraph
270 of the AMCC.

271. Aventis states that the document (ABAWP 008420) cited in Paragraph 271 of the
AMCC is the best evidence of its contents. Aventis denies that Plaintiffs have accurately
characterized any alleged document finding, opinion, statement or conclusion. Moreover,
Aventis denies that this document was produced or prepared by Aventis and further denies that
this document reflects any conduct by or knowledge of Aventis. To the extent the allegations in
Paragraph 271 of the AMCC refer to the knowledge, conduct or actions of persons, entities or
defendants other than Aventis, Aventis is without knowledge or information sufficient to form a
belief as to the truth of those allegations and, therefore, denies those allegations. Aventis denies
the remaining allegations in Paragraph 271 of the AMCC that pertain to it.

272-540. The allegations in Paragraphs 272 through 540 of the AMCC are directed to
another defendant and require no response from Aventis. To the extent allegations in Paragraphs
272 through 540 of the AMCC are deemed to include allegations against Aventis, they are
denied.

VI. PLAINTIFFS’ CLAIM FOR DAMAGES

541. Aventis denies that Plaintiffs have suffered damages or injuries as alleged in
Paragraph 541 of the AMCC. Aventis is without knowledge or information sufficient to form a
belief as to the truth of the remaining allegations in Paragraph 541 of the AMCC and, therefore,
denies those allegations.

VI. PLAINTIFFS’ CLAIMS CONCERNING TOGETHER RX

542-546. Aventis denies the allegations in Paragraphs 542 through 546 of the AMCC.

20
1405952v2 -
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 21 of 25

547. Aventis is without knowledge or information sufficient to form a belief as to the
truth of the allegations in Paragraph 547 of the AMCC and, therefore, denies those allegations.

548. Aventis admits that, at present, the Medicare Program generally does not cover
the cost of self-administered prescription medicines and that Congress has debated the issue of
prescription medicine coverage under the Medicare Program. Aventis is without knowledge or
information sufficient to form a belief as to the truth of the remaining allegations in Paragraph
548 of the AMCC and, therefore, denies those allegations.

549. Aventis admits that in recent legislative sessions Congress, in keeping with its
role as the legislative branch of the Federal Government, has focused on the pricing of
prescription medicines in the United States and on reforming the Medicare and Medicaid
prescription medicine programs. To the extent the allegations in Paragraph 549 of the AMCC
refer to the knowledge, conduct or actions of persons or entities other than Aventis, Aventis is
without knowledge or information sufficient to form a belief as to the truth of those allegations
and, therefore, denies those allegations. Aventis states that the April 4, 2001 Prescription Drug
Fairness for Seniors Act cited in Paragraph 549 of the AMCC is the best evidence of its contents.
Aventis denies that Plaintiffs have accurately characterized any alleged finding, opinion,
statement or conclusion contained in this document or allegedly made by Congressman Allen.
To the extent the remaining allegations in Paragraph 549 of the AMCC are deemed to include
allegations against Aventis, they are denied.

550. To the extent the allegations in Paragraph 550 of the AMCC refer to the
knowledge, conduct or actions of persons, entities or defendants other than Aventis, Aventis is
without knowledge or information sufficient to form a belief as to the truth of those allegations

and, therefore, denies those allegations. Aventis admits that it participates in the Together Rx

21
1405952v2
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 22 of 25

Card Program, which commenced in 2002 and allows poor, elderly Americans to enjoy
substantial discounts on covered medicines. Aventis denies the remaining allegations in
Paragraph 550 of the AMCC that pertain to it.

551-561. The allegations in Paragraphs 551 through 561 of the AMCC are directed to
another defendant and require no response from Aventis. To the extent allegations in Paragraphs
551 through 561 of the AMCC are deemed to include allegations against Aventis, they are
denied.

562. Aventis states that the press release cited in Paragraph 562 of the AMCC is the
best evidence of its contents. Aventis denies the remaining allegation in Paragraph 562 of the
AMCC that pertain to it.

563-565. To the extent the allegations in Paragraphs 563 through 565 of the AMCC refer
to the knowledge, conduct or actions of persons, entities or defendants other than Aventis,
Aventis is without knowledge or information sufficient to form a belief as to the truth of those
allegations and, therefore, denies those allegations. Aventis states that the March 12, 2002,
Reuters article cited in Paragraph 564 of the AMCC is the best evidence of its contents. To the
extent the remaining allegations in Paragraphs 563 through 565 of the AMCC are deemed to
include allegations against Aventis, they are denied.

566. Aventis admits that it participates in the Together Rx Card Program, which
commenced in 2002 and allows poor, elderly Americans to enjoy substantial discounts on
covered medicines. Aventis is without knowledge or information sufficient to form a belief as to
the truth of the remaining allegations in Paragraph 566 of the AMCC and, therefore, denies those

allegations.

22
1405952v2
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 23 of 25

567. Aventis admits that the medicines identified in Paragraph 567 of the AMCC are
covered or have been covered at one point of time by the Together Rx Card Program, except that
Aventis is without knowledge or information sufficient to form a belief as to whether Vermos
and Zomig-ZMT are covered by the Together Rx Card Program and, therefore, denies those
allegations. Aventis is without knowledge or information sufficient to form a belief as to the
truth of the remaining allegations in Paragraph 567 of the AMCC and, therefore, denies those
allegations.

568-569. The allegations in Paragraphs 568 through 569 of the AMCC are directed to
another defendant and require no response from Aventis. To the extent allegations in Paragraphs
568 through 569 of the AMCC are deemed to include allegations against Aventis, they are
denied.

570. Aventis admits that the medicines identified in Paragraph 570 of the AMCC are
or have been manufactured by Aventis and are or have been covered by the Together Rx Card
Program. Aventis denies the remaining allegation of Paragraph 570 of the AMCC.

571-575. The allegations in Paragraphs 571 through 575 of the AMCC are directed to
another defendant and require no response from Aventis. To the extent allegations in Paragraphs
571 through 575 of the AMCC are deemed to include allegations against Aventis, they are
denied.

576. To the extent the allegations in Paragraph 576 of the AMCC refer to the
knowledge, conduct or actions of persons, entities or defendants other than Aventis, Aventis is
without knowledge or information sufficient to form a belief as to the truth of those allegations
and, therefore, denies those allegations. Aventis states that the unidentified document cited in

Paragraph 576 of the AMCC is the best evidence of its contents. Aventis admits that it

23
1405952v2 -
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 24 of 25

encouraged eligible poor, elderly Americans to enroll in the Together Rx Program, but denies the
remaining allegations in Paragraph 576 of the AMCC that pertain to it.

577-583. To the extent the allegations in Paragraphs 577 through 583 of the AMCC refer
to the knowledge, conduct or actions of persons, entities or defendants other than Aventis,
Aventis is without knowledge or information sufficient to form a belief as to the truth of those
allegations and, therefore, denies those allegations. Aventis states that the unidentified document
cited in Paragraph 577 of the AMCC, the April 10, 2002 press release cited in Paragraph 579 of
the AMCC, the press release cited in Paragraph 580 of the AMCC, and the February 3, 2003,
document and/or statement cited in Paragraph 583 of the AMCC are the best evidence of their
contents. Aventis denies the Plaintiffs have accurately characterized any alleged finding,
opinion, statement or conclusion contained in these documents and/or statements. To the extent
the remaining allegations in Paragraphs 577 through 583 of the AMCC are deemed to include
allegations against Aventis, they are denied.

584-594. Aventis denies the allegations in Paragraphs 584 through 594 of the AMCC.
Aventis specifically denies the existence of, and its participation in, any “conspiracy” as alleged
in Paragraph 587 of the AMCC. Answering further, Aventis states that it did not report or cause
to be reported any AWP for any of its medicines during the period relevant to the allegations in
Paragraph 590 through 592 of the AMCC.

VII. CLASS ALLEGATIONS FOR THE PURPORTED “A WP PAYOR CLASS”

595-598. Aventis admits that Plaintiffs purport to bring this action as alleged in
- Paragraphs 595 through 598 of the AMCC, but Aventis denies that Plaintiffs are entitled to
maintain this action in the manner alleged. Aventis denies that Plaintiffs or any putative class

members have suffered damages as alleged in Paragraph 598 of the AMCC.

24
1405952v2
Case 1:01-cv-12257-PBS Document 796-2 Filed 04/09/04 Page 25 of 25

599-603. The allegations in Paragraphs 599 through 603 of the AMCC state legal
conclusions to which no answer is required. Aventis denies, however, that Plaintiffs have pled a
proper class or named proper class representatives. Further answering, Aventis denies that
Plaintiffs or any putative class members have suffered damages or injuries as alleged in
Paragraph 603 of the AMCC.

IX. CLASS ALLEGATIONS FOR THE PURPORTED “TOGETHER RX CLASS”

604-605. Aventis admits that Plaintiffs purport to bring this action as alleged in
Paragraphs 604 through 605 of the AMCC, but Aventis denies that Plaintiffs are entitled to
maintain this action in the manner alleged.

606-607. The allegations in Paragraphs 606 through 607 of the AMCC state a legal
conclusion to which no answer is required. Aventis denies, however, that Plaintiffs have pled a
proper class or named proper class representatives.

608. Aventis is without knowledge or information sufficient to form a belief as to the
truth of the allegations in Paragraph 608 of the AMCC and, therefore, denies those allegations.

609. Aventis admits that Plaintiffs purport to bring this action as alleged in
Paragraph 609 of the AMCC, but Aventis denies that Plaintiffs are entitled to maintain this
action in the manner alleged.

610-614. The allegations in Paragraphs 610 through 614 of the AMCC state a legal
conclusion to which no answer is required. Aventis denies, however, that Plaintiffs have pled a
proper class or named proper class representatives. Aventis denies that Plaintiffs or any putative
class members have suffered damages or injuries as alleged in Paragraph 611 of the AMCC.
Aventis further denies the existence of, or its participation in, any “conspiracy” as alleged in

Paragraph 612 through 613 of the AMCC.

25
1405952v2 -
